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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                         §
 BAILEY TOOL &                                  §             Case No. 16-30503-SGJ-7
 MANUFACTURING COMPANY.                         §             Chapter 7
        Debtor.                                 §
                                                §
                                                §
 BAILEY TOOL &                                  §
 MANUFACTURING COMPANY,                         §
 HUNT HINGES, INC. and                          §
 CAFARELLI METALS, INC.,                        §
      Plaintiffs,                               §
                                                §
 v.                                             §       Adv. No. 16-03025-SGJ
                                                §
 REPUBLIC BUSINESS CREDIT, LLC,                 §
      Defendant and Counter-Plaintiff,          §
                                                §
 v.                                             §
                                                §
 BAILEY TOOL &                                  §
 MANUFACTURING COMPANY,                         §
 HUNT HINGES, INC. and                          §
 CAFARELLI METALS, INC.,                        §
      Counter-Defendant.                        §
                                                §

 REPUBLIC BUSINESS CREDIT, LLC,                 §
      Third-Party Plaintiff,                    §
                                                §
 v.                                             §
                                                §
 JOHN BUTTLES, TENNECO, INC.,                   §
 TRELLEBORG AUTOMOTIVE                          §
 USA, INC.                                      §
        Third-Party Defendants.                 §




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            COUNTERCLAIMANT JOHN BUTTLES’ PROPOSED FINDINGS
                    OF FACT AND CONCLUSIONS OF LAW

       COMES NOW Counterclaimant John Buttles, and submits the following Proposed Find-

ings of Fact and Conclusions of Law.

                                              I.
                                       FINDINGS OF FACT

A.     Procedural Background and Parties.

       1.        Bailey Tool & Manufacturing Company (“Bailey”) is a Texas corporation and was

a debtor and debtor-in-possession in the above-captioned, jointly administered bankruptcy cases

until the cases were converted to Chapter 7 cases and James W. Cunningham was appointed the

Trustee of Bailey’s Bankruptcy Estate.

       2.        Hunt Hinges, Inc. (“Hunt”) is a Texas corporation and a debtor and debtor-in-pos-

session in the above-captioned, jointly administered bankruptcy cases until the cases were con-

verted to Chapter 7 cases and James W. Cunningham was appointed the Trustee of Hunt’s Bank-

ruptcy Estate.

       3.        Cafarelli Metals, Inc. (“Cafarelli”) is a Texas corporation and a debtor and debtor-

in-possession in the above-captioned, jointly administered bankruptcy cases until the cases were

converted to Chapter 7 cases and James W. Cunningham was appointed the Trustee of Cafarelli’s

Bankruptcy Estate.

       4.        Collectively, the foregoing entities may be referred to herein as “Bailey,” “Debtors”

or “Company.”

       5.        John Buttles was the sole owner of the Company.

       6.        Republic Business Credit, LLC (“Republic”) is a Louisiana limited liability com-

pany authorized and conducting business in Texas.




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         7.    On February 1, 2016 (the “Petition Date”), the Debtors each filed a voluntary peti-

tion for relief under chapter 11 of the Bankruptcy Code, commencing their respective bankruptcy

cases.

         8.    The Debtors continued to operate and manage their businesses as “debtors in pos-

session” pursuant to sections 1107 and 1108 of the Bankruptcy Code until January 26, 2017.

         9.    On February 19, 2016, the Debtors filed an adversary proceeding against Republic,

which asserted numerous claims against Republic. On March 23, 2016, Republic filed an answer

to the adversary complaint.

         10.   On May 31, 2016, Republic filed an Amended Answer and Counterclaim, which

pleading asserted new claims against the Debtors’ former owner, John Buttles (“Buttles”). A for-

mal appearance, answer, and third-party counterclaim was filed on September 23, 2016.

         11.   On January 26, 2017, the case was converted to a Chapter 7, and James W. Cun-

ningham was appointed Chapter 7 Trustee (“Cunningham” or the “Trustee”) on January 27, 2017,

pursuant to 11 U.S.C. § 701(a).

B.       General History of the Debtors.

         i.    The Debtors’ Business.

         12.   In 1989, John Buttles bought the company that ultimately became known as Hunt

Hinges Inc. Four years later, in 1993, Buttles acquired Bailey Tool & Equipment Company, which

was founded in 1969. Approximately five years later Buttles continued to build the enterprise by

acquiring Cafarelli Metals, Inc.

         13.   Hunt created and manufactured metal hinges; Bailey was a metal fabrication com-

pany; and Cafarelli slit metal coils to custom widths for Bailey, Hunt, and outside customers, to

use in manufacturing their products. Over time, Buttles expanded the combined companies’ ca-

pabilities to include not merely metal fabrication, but also product engineering and design.


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       14.     Historically, Bailey’s core customers were Tier One and Two suppliers to automo-

tive manufacturers in the United States and Mexico. The company operated in three locations in

the Dallas area, employed as many as 130 people, and had annual revenues ranging from $7.9

million to $11.6 million in 2012-2014. See TR.509, 511

       15.     In the economic downturn of 2008-9, the auto industry suffered significantly, and

so did Bailey’s business. In response, the Company expanded into manufacturing oilfield service

equipment. It also used its engineering and design abilities to develop entirely new opportunities.

       16.     One of Bailey’s most promising new opportunities came in defense contracting.

When Bailey entered the area, ammunition manufacture still used machines built during World

War II. Under contract with the United States Army, Bailey designed and built an entirely new

and more efficient machine for manufacturing bullets, using state-of-the-art technology and pro-

cesses. This project created a new pair of markets for Bailey, not only designing and building the

machines but also manufacturing bullets.

       ii.     The Factoring Agreement and Bailey’s Early Dealings with Republic.

       17.     While the Company had made progress in developing new markets after the Great

Recession, it was still in transition, revenues had not yet returned to pre-Recession levels, and its

new markets continued to demand additional capital for research and development. It was in this

context that its primary lender, Comerica Bank, asked the Company to move its business in 2014.

       18.     Bailey found a receptive audience at Regions Bank. As part of the move, Regions

suggested Bailey utilize a factoring company for a few months as a bridge from Comerica to Re-

gions. While this factoring “cleanup” period occurred, the rest of the Bailey debt (two notes se-

cured by the real estate and guaranteed by Buttles, where the Company’s plants were located)

would remain at Comerica.




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       19.     Bailey was not opposed to this suggestion because it had successfully used a factor

some years before following another economic downturn. One of the companies Regions recom-

mended was Republic Business Credit.

       20.     In late 2014 and in early 2015, the Company discussed a factoring and inventory

financing package with Republic Business Credit, LLC to meet its working capital needs. The

arrangement was intended to be the short-term bridge that Regions had suggested.

       21.     Republic’s due diligence lasted from October 2014 through February 2015. Bailey

showed Republic every document requested. LaCour Miller was responsible for the underwriting

on behalf of Republic.

       22.     Republic’s due diligence culminated in a December 31, 2014, report and accompa-

nying e-mail from Mr. Miller to Republic’s Credit Committee. Based on Republic’s due diligence,

Mr. Miller assessed the proposed transaction as a “strong deal” for Republic:




See TR.169.

       23.     Mr. Miller’s e-mail identified the following as the “known issues:”

•      Issue: Bailey had failed to pay its 2013 ad valorem taxes to Dallas County, owed $120,000
       on that bill, and was engaged in a payment plan agreed to by the County of $20,000 per
       month; it had not paid its 2014 ad valorems, either;
       o       Solution: To deal with the tax arrearages, Miller recommended that Republic take
               control over tax payments from Bailey after the deal closed;




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•      Issue: Bailey’s accounts payable were stretched well beyond 90 days, and half of its trade
       debt was more than a year old;
       o        Solution: Bailey acknowledged that it could probably settle its outstanding trade
                debt for fifty cents on the dollar, but didn’t want to do so, and was making a priority
                for paying down old accounts payable;
•      Issue: Bailey stood a good chance of receiving further orders from the Defense Department
       for its bullet machine, but payments were made on a milestone rather than progress billing
       basis;
       o        Solution: Milestone payments, being irregular, are unattractive to a factor and
                would need to be closely monitored, so Republic indicated a need to review future
                contracts and bill on progress rather than milestones.

See TR.509, 511.

       24.     Based on Mr. Miller’s e-mail and the attached “Credit Committee Application,”

Republic’s Credit Committee approved the deal the same day Mr. Miller submitted his report.

Allen Frederic, Republic’s COO, and Stewart Chesters, Republic’s CEO, both expressly approved

the transaction:




TR.508.




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       25.     Before the Credit Committee’s approval, Miller sought confirmation from Bailey

on how it would spend the money to be initially advanced by Republic. The Company’s CFO,

Jeff Worley, replied that it intended to use the money to pay off Comerica, meet immediate work-

ing capital needs, and ramp up manufacturing in the early months of the year:




TR. 681 (December 31, 2014 e-mail from Worley to Miller).

       26.     In their negotiations, Republic represented Bailey’s advance rate on receivables

would be 90%, and Republic would take its fees and expenses out of the 10% held back. In fact,

the advance rate on receivables was a focal point of negotiations:




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TR.166.

        27.      Periodically, Republic was to return the unused 10% holdback to Bailey. The fac-

toring agreement had a facility limit of $2.5 million.

        28.      Republic also told Buttles that the mechanics of the factoring relationship would be

the following:

                 •     Bailey ships product, and sends its customer an invoice;
                 •     Bailey simultaneously, or shortly thereafter, submits the receivable to Re-
                       public;
                 •     Republic promptly examines the receivable and determines whether it is
                       eligible for an advance;
                 •     If eligible, Republic wires 90% of the receivable to Bailey within 24 hours;
                 •     Republic promptly returns ineligible receivables to Bailey;
                 •     Customer payment goes to Republic’s lockbox; and
                 •     Republic takes its fees from the customer payment and returns the balance
                       to Bailey.
        29.      Republic told Buttles that the relationship would be mutually beneficial:

                 •      Bailey benefits from the expedited cash flow, for which it pays a reasonable
                        fee;
                 •      Republic benefits because it receives a premium over the rates charged for
                        other financing arrangements; and
                 •      Bailey continues to operate its business and achieve its goals.
        30.      Based on those representations, Bailey moved forward with the transaction.

        iii.     Republic Analyzes Bailey’s Receivables.

        31.      Because Republic borrowed money to fund the Comerica takeout, 1 Republic had

to demonstrate to its own lenders that Bailey would provide sufficient collateral to justify their

loan to Republic.

        32.      Unknown to Bailey at the time, Republic, just days prior to signing the factoring

agreement, became concerned about the collectability of the United States Army receivable. (the




1
 Prior to the factoring agreement, Comerica had a first priority lien against Bailey’s receivables. Accordingly, Co-
merica’s lien had to be taken out as part of the Bailey/Republic transaction.


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“Army Receivable” or the “Army”). In a series of in-house emails, Republic officers debated

how much credit to give it.

       33.     Republic’s underwriter, LaCour Miller, set out the problem. If Republic made the

entire Army Receivable ineligible, Bailey’s collateral would be approximately $50,000 short of

the Comerica payoff. On the other hand, if Republic gave full credit to the Army, Republic could

pay off Comerica and still have $213,067.05 available to advance to Bailey:




TR.521.



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       34.     Republic’s management did neither. Instead, COO Stuart Chesters chose to “miti-

gate risk:” by reducing the advance rate on the Army receivable to 65%:




See TR.524.

       35.     To that, CEO Allen Frederic added that in addition to the lower advance rate, Re-

public could further protect itself by making the receivables ineligible “at a later date:”




See TR.521.

       36.     No one at Republic told the Company or Buttles about the discussions and concerns

regarding the Army Receivable. More importantly, Republic did not tell Bailey or Buttles of the

risk that it would deem the Army Receivable ineligible right after the deal was signed.

       37.     Instead, on February 24, 2015, Republic sent the Borrowing Base Certificate to

Bailey showing $124,700 of immediate availability after the takeout of Comerica, along with the



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transactional documents for signature. See, e.g., TR.718 (February 25, 2015 e-mail from Miller

to Worley with attached borrowing base).

       38.     Based on Republic’s representations and the Borrowing Base Certificate described

above, on February 27, 2015, Bailey and Buttles signed the “Agreement for Purchase and Sale”

(the “Factoring Agreement”), the Inventory Loan, and Buttles’ personal guaranty, effective on

February 25, 2015. (collectively, the “Agreements”). See TR.51-53. At the time, Bailey under-

stood that it had $124,700 of funds available to draw, as soon as Republic did the takeout.

       39.     In late-February or early-March 2015, Republic paid Comerica the $1,257,978.66.

TR.703 (Subordination Agreement between Republic and Comerica).

       40.     In mid-March 2015, Bailey made its first draw request, expecting availability in the

range of the Borrowing Base Certificate received on February 25.

       41.     In response (and much to Bailey’s amazement), Republic Relationship Manager

Vanessa Blade sent a Borrowing Base Certificate showing that Bailey’s ineligible accounts had

jumped from $17,000 on February 24 to $142,310.87 on March 12, greatly reducing Bailey’s

availability. See TR.715. Only then did Bailey learn that once it had signed the Factoring Agree-

ment, Republic decreed that the Army was no longer an “eligible receivable.”

       42.     Bailey promptly brought the issue to Republic’s attention:




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See TR.719.

       43.    Republic did not budge. Instead, it told Bailey that although no funds were availa-

ble under the formulas previously represented to it, Republic would be willing to make an “over-

advance,” but such funds would cost the Company a “Service Fee 2.0% of overadvance balance

each 30 days or partial increment thereof Prime + 9.75% based on 360 days amortization on actual

daily balance.” TR.529.

       44.    The deal that Republic imposed in mid-March was not the one Bailey signed up for

a mere three weeks before. Nonetheless, Bailey was stuck: its old Comerica revolver no longer

existed, and it had to make the best of the new situation until it could move the relationship to

Regions Bank. Accordingly, the Company moved ahead, having to deal with funds suddenly less

available and costing much more.

       45.    Republic’s treatment of Bailey in the spring and early summer of 2015 showed that

it never intended to live up to the representations made before the Agreements were signed.




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        iv.      Republic Declares Default and Takes Control of Bailey’s Business.

        46.      The consequence of Republic’s unilaterally chopping the advance rate and availa-

bility was self-evident: Bailey’s ability to operate and pay its debts suffered immediate damage,

just as Worley forecasted in March.

        47.      Within two months, Bailey did not have the cash to meet its bills, including the full

May installment of its tax payment plan with Dallas County; in June, it could not make its monthly

payment on the arrearage.

        48.      On June 29, 2015, Comerica sent Bailey and Buttles notice of default under its loan

and guaranty agreements precisely because of those missed payments. When Republic learned of

the default, the real punishment began.

        49.      Republic declared default under the Agreements on July 9, 2015 (DX.100), and

swiftly changed the game even further.

        50.      Under Republic’s new “rules,” it demanded control of Bailey’s day-to-day opera-

tion as a quid pro quo for giving Bailey any money at all. Moreover, Republic completely ceased

advancing funds directly to Bailey – all funds advanced from that point forward were sent di-

rectly to Bailey’s vendors, payroll company, etc. by Republic. 2

        51.      Republic also ceased to factor. In other words, advances were not tied to the re-

ceivables purchased. Instead, Republic required Bailey to provide a list of payables to Republic

on a daily or weekly basis. Republic’s Risk Manager, Melissa Baines, would then decide which

of Bailey’s payables she would pay based on whether or not the payable itself would “generate

new receivables.”




2
 Republic’s new “rules” were outside the parties’ contract – the Agreements specifically defined an “Advance” as a
payment by Republic to Bailey. See TR.51 Agreement of Purchase and Sale, p. 3, paragraph 2.


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        52.     Ms. Baines summarized Republic’s new view of the “factoring” arrangement in a

July 10, 2015 e-mail to Buttles:




TR. 688.

        53.     Ms. Baines had no formal education or practical experience in managing or running

a manufacturing business, yet that was exactly what Republic chose to let her do. Bailey suffered

immediate financial injury due to Ms. Baine’s mismanagement.

        54.     For example, Bailey needed oil to run its machines, and it owed money to its oil

supplier, Fuchs. Rather than advancing funds directly to Bailey so Bailey could pay Fuchs, Re-

public required an explanation of “how much” in receivables would be generated if Republic paid

the oil supplier:




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TR.116.

       55.    Apparently, Ms. Baines did not understand that for a paltry $10,000, all of the ma-

chines at Bailey could operate and fill whatever orders had been placed, but without that $10,000

for oil, no production of any kind could take place because the machines could not be run without

oil. They would burn up.

       56.    Republic’s “rules” were not limited to Bailey’s suppliers. Republic (primarily

through Ms. Baines) used its complete control over the Company’s cash to take away from Bai-

ley’s management virtually all decisions that a company makes for itself.

       57.    For example, Ms. Baines inserted herself into Bailey’s personnel and human re-

sources management, decreeing funds would only be advanced for “actively employed AND crit-

ical employees,” not those who were “non-engaged (i.e., not showing up on Monday.”):




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TR.717.

       58.     Not only did Ms. Baines refuse to “advance” funds for payroll without assurances

Bailey’s employees would continue to “show up,” but also that any employee receiving a paycheck

be “critical” and “add[] value to cash flow in the short term:”




TR.587.




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       59.       On production lines, all employees are critical, otherwise they would not be on the

line. On a human level they also needed these paychecks and had and would continue to work

hard for them.

       60.       Not only did Republic control how many workers should be employed, it also

sought to conspire with one of Bailey’s managers to have him replace John Buttles as president

and CEO. This attempt began with a request from Melissa Baines and Allen Frederic to meet with

Bob McGovern for a “confidential” discussion:




TR.133.

       61.       At that meeting, which occurred not at Bailey’s offices but fifteen miles away, at

the Stoneleigh Hotel, Baines and Frederic suggested that McGovern should persuade Buttles to

relinquish his role as president and chairman, and let McGovern fill those roles.

       62.       Republic even supplied McGovern with a draft board resolution and employment

agreement to carry out the plan:


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TR.135, 142 (Baines e-mail McGovern transmitting draft employment agreement).

       63.    In tandem with these negotiations, Allen Frederic not only approved McGovern’s

projected salary as president and CEO, but even opined that McGovern should be given an equity

participation in the company:




TR.138.


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       64.     On the same day, to keep the ball rolling, McGovern sent Baines a copy of his

resume.




TR.139.

       65.     A few days later, Baines sent McGovern a draft employment contract for his new

role as CEO/President. T.R.142. Realizing what thin ice she was on, she included a disclaimer

for any liability by Republic if the documents were used:




TR.142.




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       66.     Republic’s control of Bailey’s spending did not stop at vendors, personnel, and at-

tempts at executive appointments. It permeated every last detail of the Company’s operations.

Republic even micromanaged the Company’s purchase of basic office supplies.

       67.     In one instance, Republic refused to allow Bailey to purchase Gatorade for the Bai-

ley workers who worked in the un-air-conditioned shop in Texas in August!




TR.622. Proper hydration on a machine shop floor in an un-air-conditioned building in Texas in

August is not a luxury item.

       68.     Republic also resorted to intimidation tactics. At Bailey’s Expense, Republic hired

armed guards to patrol Bailey’s premises:




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TR.626.

       69.     Republic also criticized Bailey for entering into payment plans with critical suppli-

ers, suggesting instead that finding a new supplier was more favorable than paying past due debts:




TR.619.

       70.     Republic’s control over Bailey’s business was intentional and deliberate. During

the July-October 2015 time period, Republic’s control over the Company exclusively benefited

Republic by accelerating Republic’s payoff.

       71.     From July – November 2015, Republic’s advance rate dropped to only 33% of the

accounts assigned. After September 11, 2015, Republic made no further advances.



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         72.   To be clear, for the last fifty-five days of the relationship (from September 12, 2015

through November 6, 2015), Bailey sent Republic $924,504.65 in receivables and received no

advances. Incredibly, RBC collected $921,100.81 of the Debtors’ receivables during the last fifty-

five days and gave the Debtors no further advances. Republic instead gave the Debtors empty

promises that if the Debtors would send in more receivables, RBC would begin “advancing” funds

again.

         73.   As a result, Republic’s unilateral control caused Bailey catastrophic harm. Repub-

lic choked the Company’s ability to serve existing customers, generate new accounts receivable,

generate cash flow, and successfully transition into the Regions Bank relation. Further, that control

and decision-making destroyed Bailey’s relationship with its suppliers, ended its ability to expand

new lines of business, and crippled its chances to continue as a going concern.

         74.   Republic was, in fact, conducting an “unannounced liquidation” of Bailey begin-

ning in early-July 2015, when Ms. Baines believed Republic was in the “best position” it had been

in with respect to collateral. TR.557.

         75.   In carrying out its “unannounced liquidation,” Republic was careful not to alert

Bailey or its customers of its plans, since doing so would have impaired Republic’s ability to col-

lect Bailey’s accounts receivable and allowed Bailey and its vendors to take actions to protect

themselves. For example, Ms. Baines expressly instructed others at Republic to conceal from

Bailey’s customers the true status of the business, fearing Republic’s ability to collect Bailey’s

receivables would be impaired if the customers knew the truth:




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TR.653.

       v.     Republic Demands and Gets a Lien on Buttles’ Homestead.

       76.    In addition to taking control of Bailey’s business, Republic forced CEO and owner

John Buttles, and his wife, Jennifer, to give Republic a lien on his Texas homestead. Republic

made this demand without regard to the prohibitions on such liens, which are well understood in

the commercial lending world.




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       77.     By the middle of July, Republic’s management was putting its homestead lien de-

mands in writing.




TR.721.

       78.     Republic represented that it was entitled to the mortgage and that it was necessary

to permit Bailey’s survival. The demands were part-carrot, part stick. On July 20, Ms. Baines was

telling Buttles that the lien would both “collateralize the [claimed] overadvance” and would also

“finance continued operations.” TR.721. Buttles was understandably slow to agree to the pressure

from either Baines or Allen Frederic, Republic’s CEO. Seeing the carrot fail, Allen Frederic aban-

doned all pretense of arms’-length negotiation, or for that matter, courtesy:




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TR.254.

       79.     Consequently, on or about July 21, 2015, under extreme duress and the immediate

threat of losing the business, Mr. and Mrs. Buttles executed and delivered to Republic a mortgage

on their Dallas homestead, which is exempt from the claims of creditors under the Texas Consti-

tution and Texas homestead law. TR 583.

       80.     The Mortgage was invalid from inception and constituted a fraudulent and coercive

attempt by Republic to obtain rights and interests that it was never entitled. Moreover, the dialogue

to obtain the liens on the commercial buildings and Mr. and Mrs. Buttles’ homestead were fraught

with misrepresentations and outright fraud. They were made to both Buttles individually to trick

him into putting his and his wife’s homestead up for collateral, but also to Buttles as owner and

CEO of Bailey to put the commercial buildings up as additional collateral.

       81.     The misrepresentations were as follows:

                There had been an overadvance;
                The Bailey commercial buildings and Mr. and Mrs. Buttles’ homestead would
                 only be used to collateralize this overadvance and would never be enforced;




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                This additional collateral was not intended to place RBC in an over-secured
                 position, such that it could cash out both the old and new collateral to be paid
                 back;
                Once the additional collateral was secured, the 90% funding of receivables
                 would start again.

       82.     All of these statements were false and sufficient to meet the burden of proof for

fraud, fraud in a real estate transaction, and negligent misrepresentation.

       83.     First, there was no overadvance. Next, Republic declared a default on the after the

supposed overadvance had been paid, and took the cash from the sale of the Buttles’ homestead

and paid itself a $75,000 Termination Fee. Bailey, based Republic’s continuing misrepresenta-

tions, kept sending all of its accounts receivable religiously every day in the hope it would get a

true Advance. Between October 2, 2016 and November 6, 2015, Bailey sent $487,431.76 in re-

ceivables to Republic.

       vi.     Republic Stops Funding Anyway.

       84.     After Republic seized control in early July, Bailey’s long-standing, core automotive

customers, such as Tenneco and Trelleborg, began to find that Bailey could not fill their orders in

a timely fashion.

       85.     These problems appeared immediately. On July 13, John Buttles told Melissa

Baines that Bailey’s delays in getting a press repaired were shutting down a Trane Heating & Air

Conditioning production line:




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TR.120.

       86.     Ever the stickler for documentation, Baines replied:




TR.120.

       87.     The problems also extended to Bailey’s automotive customers ten days after the

Trane difficulties. Bailey’s COO, Bob McGovern, was having to deal with the displeasure of

Peterbilt and Imperial, two of its largest automotive accounts:




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TR.585.

        88.   The problems with automotive customers were no better by August 2015. On Au-

gust 11, a Tenneco procurement officer was telling Buttles that its delivery delays were becoming

critical:




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TR. 781 (RBC0013288).

       89.     Two weeks later, Bailey’s inability to perform threatened to shut down an entire

Tenneco factory in Mexico.




TR.622.

       90.     Although Republic was aware of these problems, it did not particularly care, be-

cause its silent liquidation and debt reduction had greatly reduced its exposure. TR.653 (Septem-

ber 29, 2015 e-mail stating “We are nearing being in collect out status on this account…”).


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       91.     Given its success in debt reduction, by the middle of September Republic decided

that it no longer made sense to allow Bailey any more money. In fact, the last payment it made to

Bailey vendors was on September 11, 2015. TR.752 (Frederic Exhibit 29).

       vii.    Republic takes the Homestead Proceeds and Claims No Settlement.

       92.     Also during the middle of September 2015, Republic stepped up its campaign to

get money from Buttles’ homestead. Buttles had received a purchase offer for the house, but the

closing was delayed by the title company’s consternation over Republic’s illegal lien. At that

point, Republic understood that there would be almost $464,000 net to the Buttles family, and it

demanded all of it. TR.745.

       93.     At the same time, Melissa Baines was telling Buttles that Republic’s receiving the

money would help cover the inventory loan and Army overadvance, allow Republic to start fund-

ing the business again, and Buttles to resume receiving a salary:




TR.745.



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         94.   Republic’s demand for Buttles’ entire home equity was a shock to Buttles, even if

softened by the enticement of further funding for Bailey and salary resumption for Buttles. Be-

cause Buttles resisted giving up all of his homestead equity, Baines and Frederic decided to add

more pressure by threatening him with fraud:




TR.753 (Frederic Exhibit 30).

         95.   Thirty-four minutes after devising the language, Baines sent those very words to

Buttles in an email dated 4:41 p.m. on September 15. Buttles answered the next day at 11:25 a.m.,

saying




TR.754 (Frederic Exhibit 31).

         96.   Upon receiving Buttles’ reply, Frederic exploded:




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TR.754 (Frederic Exhibit 31).

       97.    Two minutes later, Baines told Frederic there wasn’t unanimity in the C-suite, be-

cause Stewart Chesters did not agree:




TR.755 (Frederic Exhibit 32).

       98.    Frederic responded that foreclosure was the only thing that will get movement from

Buttles:




TR.755 (Frederic Exhibit 32).

       99.    During the same conversation, Frederic told Baines to keep a guard posted at the

Bailey plant until Buttles gave them his homestead equity. TR.756 (Frederic Exhibit 33).



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       100.    Baines replied that while she was about to pull the guard service, upon getting

Frederic’s email she told the guard service to keep the guard on site, and the guard might be in-

creased to armed status:




TR.756 (Frederic Exhibit 33).

       101.    Less than an hour later, Frederic told Baines that negotiating with Buttles was use-

less, and they simply had to remain firm:




TR.643.

       102.    Barely forty-five minutes later, Frederic reiterates his position take no prisoners

attitude toward Buttles:




TR.643.




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       103.   It was within the climate shown above that Bailey, Buttles, and Republic had set-

tlement discussion in late September and early October 2015 to resolve the outstanding issues

between them and permit Bailey to operate without interference or further demands from Republic.

See, e.g., TR.79 (Hayward Exhibit 1).

       104.   In the settlement correspondence, the most important portions of which occurred

from September 29 through October 2, 2015, Republic officers and counsel demanded $275,000

from the imminent home sale to fund the settlement then under discussion, and contribute the

remainder of the closing proceeds from the sale of the homestead to Bailey to fund operations.

See, e.g., TR.79 (Hayward Exhibit 1). Subsequent exchanges of correspondence between the Re-

public representatives reduced the cash component to be funded from the sale of the Buttles home-

stead to $225,000. See, e.g., TR.79 (Hayward Exhibit 1).

       105.   On September 30, 2015, Republic counsel Laurie Montplaisir wrote that the revised

settlement terms were acceptable and that she would begin preparation of a forbearance agreement.

See, e.g., TR.79 (Hayward Exhibit 1).

       106.   The homestead sale closed on October 2, 2015, and the title company wired

$225,000 to Republic, which Republic agreed to hold in trust pending formal documentation of

the settlement, both as specifically agreed and as customary. Then, on the same day, Republic

pocketed the money and subsequently repudiated the settlement:




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TR.780.

       107.    This was contrary to Republic’s previous representations, and in breach of its ex-

press agreements to hold the funds in trust, pending formal documentation of the settlement agree-

ment: See, e.g., TR.79. Republic then not only applied the funds to what it claimed was a previous

overadvance, after representing since July: (1) the Buttles’ residence would never be needed to

service the loan; it was facial security for what turned out to be a fictitious overadvance; and (2) if

this overadvance was covered, funding would start up again. All of these statements were false.

       108.    As demonstrated in email exchanges, Buttles relied on Republic’s false representa-

tions that: (i) it was necessary to sell the homestead; (ii) Republic was entitled to the net sale

proceeds, $225,000 of which was necessary to conclude the settlement; (iii) Republic either in-

tended to or had concluded the settlement agreement.

       109.    Republic also interfered in the homestead closing. Its representatives communi-

cated directly with the title company to obtain the $225,000 from the sale. Republic’s counsel

instructed the title company that “Republic Business Credit has agreed to the $225,000 figure.

Please confirm when the wire has been sent pursuant to the wire transfer instructions previously

sent to you.” TR.716. Because Buttles understood that a settlement had been reached and only

needed to be papered, he allowed the title company to send the funds to Republic. Then, to Buttles’

amazement, he learned from Bailey’s new counsel that the settlement had broken down but Re-

public refused to give the money back.

       viii.   The Secret Termination Fee.

       110.    On or about October 2, 2015 – the same day as Buttles’ homestead closing – Re-

public took a $75,000 termination fee against money collected from Bailey’s accounts. Republic

gave the Company no formal notice of its taking the termination fee, but Republic told its own

employees to conceal Bailey’s true condition from other creditors. Even though Republic had not


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funded a single dollar since September 11, 2015. Republic told Bailey to continue submitting

accounts and promised it would fund operations.

        111.      Based on Republic’s promise (and failure to disclose the termination fee), Bailey

continued to submit receivables to Republic until November 5, 2015 ($487,431.76 in receivables

were sent to Republic between October 2 and November 6). Although Republic continued to

collect receivables, it advanced no additional funds to the Company. Hence, there was a continu-

ous flow of misrepresentations and deceptive statements to Debtors that if Debtors would continue

to send Republic their receivables, Republic would factor and fund them and send operating funds

to the Debtors.

        112.      The following timeline sets out Republic’s continual misrepresentations:



   September 11, 2015                     October 2, 2015                    November 5, 2015
                                    Forced Sale of Buttles’ House;
   Last Funding from                                                    Contract Termination Date Per
   Republic to Bailey               Republic Takes Secret Termi-                 Court Order
                                       nation Fee of $75,000

                                    Bailey Submits $487,431.76 in
     Bailey Submits                  Receivables after this date.
  $924,504.65 in Receiv-                                                Bailey Finally Catches On and
   ables after this date.                                                Stops Sending Receivables




        113.      Essentially, during this phase of their “relationship” Republic acted illegally in

claiming and enforcing a lien on the owner of Debtors’ homestead and acted totally in breach of




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their Agreement in not giving Debtors money from Receivables Republic admitted it owed, hold-

ing out for a release from Debtors to which Republic was not entitled. 3

         114.     Worse yet, Republic continued to claim ownership of all Bailey’s Receivables and

demand a release as a condition to turning them over. Republic continued to claim ownership of

Bailey’s receivables until the Court held last year that Republic had no right to such a release.

         ix.      Republic is Paid in Full, but Attempts to Extort a Release from the Debtors.

         115.     After collecting Buttles’ homestead equity on October 2, 2015, Republic continued

to collect all the Company’s accounts receivable through the lockbox arrangement created at the

start of the relationship.

         116.     On November 5, 2015, the Company ceased submitting receivables to Republic.

See Dkt. 165, p. 6 (“According to the testimony of Marylyn Calder, the Debtors ceased submitting

Accounts to Republic on Assignment Schedules on November 5, 2015.”).

         117.     Nevertheless, having not funded since September 11, by mid-November 2015, Re-

public had collected more than enough to pay off its facility in full. See TR.664 (cited below).

Those collections included the Army Receivable about which Republic had been so nervous that

it wrongfully lowered the cash advances available to Bailey:




3
  See Adv. Dkt. 165, p. 7 (“Republic argues that § 8.1 requires that any termination of an Agreement by a Debtor
requires the Debtor to sign a general release. This court disagrees.”). That Republic was not entitled to a release is
now law of the case.


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TR.663.

       118.    Not surprisingly, the effect on Bailey of receiving no money from its factoring for

two months was catastrophic.

       119.    After Republic collected the Army receivable, Ms. Baines alerted her superiors that

Republic was “collected out” of Bailey and that she was ready to send a General Release to Mr.

Buttles. Ms. Baines also admitted that: (1) all Default Rates and Termination Fees had been re-

covered; and (2) she could not find any additional significant additional fees that Republic “might

be able to charge:”




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T.R. 664.

       119.    The same day, Ms. Baines sent an e-mail to John Buttles confirming the facility

had been paid in full, and stating that Republic was holding over $150,000 and would turn it over

to the Debtors so long as the Debtors executed full releases of any claims they had against Repub-

lic:




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TR.255.

       120.    The Debtors declined to execute the release. See TR.777 and 775 (RBC0017598

and RBC0017607).

       121.    The Court has since held Republic was never entitled to hold out for a release since

it took the Termination Fee route to termination. See Adv. Dkt. 165, p. 7 (“Republic argues that

§ 8.1 requires that any termination of an Agreement by a Debtor requires the Debtor to sign a

general release. This court disagrees.”)

       122.    The Court likewise held Republic did not own, and was not entitled to collect, Bai-

ley receivables generated on or after November 5, 2015. Only after filing a motion to enforce the

Court’s turnover order in the Summer of 2020 (over four years after Bailey’s bankruptcy filing)



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did Republic finally return the $82,121.58 it wrongfully collected on Bailey accounts generated

on or after November 5, 2015. See Dkt. 297 (“Order Regarding Trustee’s Motion to Enforce

Order and Compel Turnover”).

       x.      The Debtors File Chapter 11, and Republic Sabotages the Debtors’ Oppor-
               tunity to Reorganize.

       123.    From mid-November through Bailey’s bankruptcy filing on February 1, 2016 (the

“Petition Date,” Republic continued to collect Bailey’s accounts receivable.

       124.    In fact, as of the Petition Date, the Company and its counsel have calculated that

Republic was holding at least $450,000 that it had collected from Company customers, even

though its debt facility had been paid in full over three months prior.

       125.    Upon learning of the bankruptcy, Republic itself admitted holding $300,000 of Bai-

ley’s money in internal e-mail correspondence:




TR.701.

       126.    On and after the Petition Date, Republic continued to claim that: (i) the factoring

agreement had not been terminated, which (ii) gave it title to all of Bailey’s accounts receivable in

perpetuity, (iii) regardless of whether Bailey had tendered those accounts to Republic. This be-

havior extended to Republic’s contacting Bailey customers post-petition and representing that

there was a “very active and non-terminated factoring agreement, which exists in place:”



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TR. 788; TR. 238.

       127.    Republic used that position (which has since been rejected by the Bankruptcy and

District Courts) as a sword every step of the way in the bankruptcy case. For example, Republic

argued that the Company could not use cash collateral or obtain DIP financing because Bailey

didn't own its receivables but had sold them all to Republic.




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        128.    Leaving aside Judge Dodd’s determination that the factoring agreement terminated

on November 5, 2015 (Adv. Dkt. 165), Republic’s position was insupportable, and should never

have been raised in the first place, given that (i) Republic had taken a termination fee; (ii) the

facility had been paid in full, (iii) Republic was not entitled to hold out for a release; and (iv)Bailey

notified Republic that Bailey considered the agreement terminated.

        129.    The Company’s reorganization failed because Republic held most of Bailey’s cash.

As a manufacturing company, it required cash to acquire raw materials and inventory to create the

products it sold to customers. Republic’s refusal to release the cash destroyed Bailey’s ability to

continue in business by severely limiting its working capital. In the process of doing so and con-

tinues to wrongfully claim ownership of Bailey’s Receivables, Republic’s actions also destroyed

customer relations, which it had taken Bailey decades to develop, irreparably damaging the Com-

pany and dooming its chapter 11 case to failure. The bankruptcy estate likewise incurred

$421,193.87 in Chapter 11 administrative expenses that Republic should be required to reimburse

as a result of its violations of the automatic stay and sabotage of the Debtors’ reorganization.

        xi.     Republic Celebrates Bailey’s Demise.

        130.    If any doubt remained about Republic’s motives, Risk Manager, Melissa Baines

put them to rest in an in-house email rejoicing at what she called Bailey’s “implosion,” and wishing

she could be in the courtroom to see the formal transfer from chapter 11 to chapter 7:




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TR.253.

       131.   Ms. Baines’ boss, Allen Frederic, suggested she should attend as a reward. TR.253

(“Go to the hearing, you earned it.”). Ms. Baines responded:




TR.253.



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       132.   Republic’s management was pleased with at the change since it expected this ad-

versary proceeding would go away since it could not be funded and the chapter 7 trustee would be

more “reasonable.” Id.

       133.   In addition to the difficulties caused Buttles by the liquidation of the Company,

Comerica Bank also brought suit against him personally on his guarantee of the Comerica debt in

December 2018.      On May 12, 2020, Comerica obtained a judgment against Buttles for

$1,963,482.35, plus interest and attorneys’ fees. TR.497.

       134.   When put in a list, Republic’s destructive acts clarify why it must answer for its

actions. By the time of Bailey’s conversion to chapter 7, Republic had:

       •      Refused to advance funds under the Factoring Agreement in good faith;
       •      Exercised complete control over the Debtors’ business causing its failure;
       •      Misappropriated the equity from Buttles’ exempt homestead;
       •      Taken a secret termination fee of $75,000;
       •      Wrongfully held out for a release;
       •      Wrongfully exercised control over proceeds of Accounts created on or after No-
              vember 5, 2015;
       •      Exercised control over funds withheld based on bogus fees, charges, penalties and
              fictitious “overadvances”;
       •      Knowingly violated the automatic stay;
       •      Prevented the Debtors from obtaining DIP financing by maintaining the absurd (and
              now judicially refuted) claim that Republic owned Bailey’s Accounts in perpetuity;
       •      Prevented the Debtors from maintaining existing customers or developing new cus-
              tomer and from reorganizing;
       •      Caused Buttles’ guaranty to Comerica to be called, and a judgment taken against
              him personally.
       135.   Republic’s actions destroyed a decades-old company, put dozens of employees

(many of whom lived paycheck-to-paycheck) out of work, and took away Buttles’ homestead.




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                                          II.
                                   CONCLUSIONS OF LAW

A.     Jurisdiction and Venue.

       136.    The Court has jurisdiction of this adversary proceeding under 28 U.S.C. § 1334.

This adversary proceeding contains some core causes of action proceeding under 28 U.S.C. §

157(b)(2)(A), (B), (E), (H), (K), and (O) and some non-core proceeding and causes of action.

       137.    Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

       138.    To the extent the Court determines that any of the claims asserted herein are not

core, the Debtors expressly consented to the entry of final orders and judgments by the Bankruptcy

Court. All parties consented to the entry of Final Orders.

B.     Buttles’ Claims

       139.    Buttles has asserted numerous alternate theories of relief in this adversary proceed-

ing. Distilled to their essence, Buttles claims that Republic repeatedly misled him regarding its

actual intentions both in the carrying out of the Agreement as well as in extracting additional col-

lateral from Buttles personally. The combined effect of these actions was to entirely destroy the

Company, wrongly take property from Buttles, destroy his life’s work and livelihood, and cause

him to be liable for guaranty obligations to lenders other than Republic.

       140.    Count 1 – Fraud

       Buttles has demonstrated that Republic’s actions satisfy the element of common law fraud

under Texas law are, in that as shown above in the Findings of Fact, Republic made repeated

representations to Buttles regarding both its intentions in carrying out the Agreement as well as in

extracting additional collateral from him personally. Those representations were false, and at the

time Republic made them it knew them to be so; alternatively, the Court finds that Republic made

the representations recklessly, as a positive assertion and without knowledge of the truth. The



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representations Republic made to Buttles were material, and it did so with the intention that Buttles

act upon them, which he did, to his injury. Those injuries include: (i) Republic’s initial improper

obtaining of a mortgage on Buttles’ homestead; (ii) taking $225,000 in proceeds from the sale; (iii)

forcing Buttles to sell at a below-market price; (iv) seeking Buttles’ guaranty of obligations under

the Agreement; (v) foreseeably causing Comerica Bank to be able to obtain a judgment against

Buttles for his guaranty in the amount of $1.9 million; (vi) foreseeably causing Buttles to be liable

to lenders other than Comerica for his guaranty of obligations; (vii) causing Buttles to lose his

employment and its attendant benefits; and (viii) foreseeably destroying Bailey’s entire enterprise

value, which was 100%-owned by Buttles.

       Together, these actions by Republic damaged Buttles in the amount of $_____________.

       141.    Count 2 – Fraud in a Real Estate Transaction (Tex. Bus. & Com. Code §27.01(a).)

       Buttles has demonstrated that Republic’s actions satisfy the elements of fraud in a real

estate transaction under Texas law. More specifically, Buttles has demonstrated that there was a

transaction involving real estate between Republic and Buttles wherein Buttles granted liens to

Republic for his homestead. In that transaction Republic made false representations of fact, false

promises, and/or benefited by not disclosing that its promises and representations were false, in

that Republic represented to Buttles to giving it a mortgage on his homestead would allow Repub-

lic to resume, or to continue to advance monies to the Company, when in fact it had no intention

of doing so, but instead was simply seeking to enhance its collateral position during the time which

it was conducting an unannounced liquidation of the Company. Republic intended its representa-

tions and promise to induce Buttles into giving the mortgage, and Buttles relied on those false

representations when he did so. As a result, Buttles’ actions in reliance on Republic’s representa-

tions injured Buttles. Accordingly, Buttles is entitled to the remedies provided in Chapter 27 Texas




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Business and Commerce Code, which include: the damages provided by Tex. Bus. & Com. Code

§§27.01(b)-(e), being recovery of all damages he suffered, including but not limited to (i) the

$225,000 cash fraudulently extracted from him and (ii) the loss of additional value in his home-

stead.

         Together, these actions by Republic damaged Buttles in the amount of $_____________.

         142.   Count 4 – Tortious Interference with Contract (Both in Homestead Sale and with

Existing Client Relations)

         Buttles has demonstrated that Republic’s actions satisfy the elements of tortious interfer-

ence with contract, both as to the sale of Buttles’ homestead as well as in its repeated and destruc-

tive interference with Buttles’ longstanding customer and vendor relations. As applied to this case,

Buttles has demonstrated the factual elements required under Texas law. Both with regard to his

homestead sale and with his customer and vendor relations, Buttles had valid contracts with which

Republic willfully and intentionally interfered, as is demonstrated above in the Findings of Fact.

Those many interferences proximately caused Buttles’ injury, and by those actions Buttles incurred

actual damage and loss.

         Republic’s actions on its interference with the sale of Buttles’ homestead damaged him in

the amount of $ _______________ .

         Republic’s actions on its interference with Buttles customer and vendor relations damaged

him in the amount of $__________ .

         143.   Count 5 - Breach of Settlement Contract (Homestead)

         Buttles has demonstrated that Republic’s actions satisfy the elements of breach of contract

in connection with the settlement agreement reached between Republic, the Company, and Buttles.

As applied to this case, Buttles has demonstrated the factual elements of breach of contract under




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Texas law, in that (i) Buttles, Republic, and the Company had reached a valid and enforceable

settlement contract between Buttles and Republic; (ii) Buttles is a proper party to sue for breach

of the contract because he individually was harmed by it in that(iii) he gave consideration by

providing a mortgage on his homestead and later allowed Republic to receive $225,000 of the

homestead sale proceeds, but received none in return; (iv) Republic, in contrast, breached the con-

tract by taking the consideration Buttles provided and giving none of the promise consideration

(i.e., resuming funding of the Company’s operations); (v) Republic’s breach has caused injury to

Buttles, and (vi) Buttles is therefore entitled to recover the actual and consequential damages which

he suffered as a result of Republic’s actions.

       Republic’s actions on its interference with Buttles customer and vendor relations damaged

him in the amount of $__________

       144.    Count 6 – Negligent Misrepresentation

       Buttles has demonstrated that Republic’s actions satisfy the elements of negligent misrep-

resentation. The evidence adduced at trial show the factual elements of negligent misrepresenta-

tion under Texas law, in that: (i) Republic made representations to Buttles in the course of its

business dealings with him that (a) it was entitled to a mortgage on his homestead and (b) if he did

so, Republic would continue to fund the Company and he would be able to receive a salary; (ii)

that in making those representations, Republic supplied false information by which it intended to

guide Buttles’ actions; (iii) in doing so Republic did not exercise reasonable care or competence

in obtaining or communicating that information; (iv) Buttles justifiably relied on them; (v) Repub-

lic’s negligent misrepresentation proximately caused Buttles’ injury, in that (a) he was forced to

sell his homestead at a price below market and give Republic a portion of the proceeds to which it

had no right under Texas law; and (b) Republic’s failure to fund caused Buttles not only the loss




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of his homestead equity but also subjected him to judgment being obtained against him by Comer-

ica in the amount of $1.9 million, vulnerability to other judgments being obtained by other lenders

holding his personal guaranty of Company obligations, the loss of the entire value of his equity

ownership in the company, as well as continued employment and related benefits.

       Republic’s negligent misrepresentations to Buttles have damaged him in the amount of

$__________.

       145.    Count 7 – Accounting

       Buttles has demonstrated that Republic’s actions satisfy the requirements needed to demon-

strate entitlement to an accounting under Texas law. Buttles has shown that the facts and accounts

sought from Republic in the normal course of discovery were either so complex or so badly and

capriciously kept by Republic that the information necessary cannot be obtained through the use

of standard discovery procedures. It is necessary to conduct and accounting in order to effect

justice, because Buttles has no other adequate remedy at law. Accordingly Buttles is entitled to

an accounting of all of Republic’s transactions with Buttles for: (i) all funds and property received

by Republic; (ii) all funds and transfers expended by Republic; (iii) all property sold by Republic;

and (iv) all funds and property remaining in Republic’s possession.

       Republic’s actions therefore cause the Court to direct that an accounting occur which fully

address the four categories set out above by a time to be later set by the Court.

       146.    Count 8 – Objection to Claim

       By demonstrating his entitlement to relief under Counts 1, 2, 4, 5, 6, and 7, Buttles has

provided ample grounds to disallow all claims filed by Republic in the cases from which this Ad-

versary Proceeding originates.

       Each of Republic’s claims filed in these bankruptcy cases are therefore disallowed entirely.




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       147.    Count 9 – Exemplary Damages

       Buttles has demonstrated that Republic’s actions satisfy the requirements needed to entitled

him to an award of exemplary damages under Texas law, in that he has shown that (i) he was

injured through conduct by Republic which amounted to gross negligence, malice, or actual fraud;

(ii) he has shown a right to recover damages on the causes of action set out in his Counts 1,2,4,5,

and 6; (iii) he is therefore entitled to an award of exemplary damages.

       Republic’s conduct, as demonstrated above in the Court’s Finding of Fact, entitles Buttles

to exemplary damages in the amount of $__________.

       148.    Count 10 – Attorneys’ Fees and Expenses, and Costs of Court

       Buttles has demonstrated that Republic’s actions satisfy the requirements for awarding at-

torneys’ fees and expenses, and costs of court under Texas law, in that such award is provided for

by statute as it applies to Count 2 (Texas Business and Commerce Code Sec. Tex. Bus. & Com.

Code §27.01(a) et seq.) and Count 5 (Texas Civil Practice and Remedies Code Sec. 38.001).

       Republic’s conduct, as demonstrated above in the Court’s Finding of Fact, entitles Buttles

to attorneys’ fees and expenses, and costs of court, in the amount of $__________.




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Dated: December 17, 2020


                                                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of December 2020, a true and correct

copy of the foregoing was served on counsel of record via e-mail.

                                            /s/ Michael R. Rochelle
                                            Michael R. Rochelle




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